This is an application for leave to appeal from refusal of a writ of habeas corpus.
The petitioner was sentenced on February 28, 1946, to six years in the Maryland Penitentiary for assault with intent to rob. He was paroled from that institution on October 29, 1946, and returned for violation of his parole on September 5, 1947. He states that his attorney failed to get witnesses in court; that there was no testimony to show that he broke any laws. It does not appear that he asked that witnesses be summoned, whether they were summoned, or what they would testify if present. Rountreev. Wright, Warden, 189 Md. 292, 55 A.2d 847, just decided. The questions of guilt or innocence and the sufficiency of the evidence cannot be retried on habeas corpus. Olewiler v. Brady,185 Md. 341, 344, 44 A.2d 807; Bernard v. Warden of MarylandHouse of Correction, 187 Md. 273, 49 A.2d 737; Copeland v.Wright, 188 Md. 666, 53 A.2d 553.
Application denied, without costs.